                                                                                                           FILED
     RECEIVED                                                                                       September 24, 2021
    September 24, 2021                   IN THE UNITED STATES DISTRICT COURT                        CLERK, U.S. DISTRICT COURT
  CLERK, U.S. DISTRICT COURT                                                                        WESTERN DISTRICT OF TEXAS
  WESTERN DISTRICT OF TEXAS               FOR THE WESTERN DISTRICT OF TEXAS
                JMV
BY:_______________________________
                                                                                                                 JMV
                                                                                                 BY: ________________________________
                        DEPUTY
                                                    AUSTIN DIVISION                                                      DEPUTY



           UNITED STATES OF AMERICA                                                                       PLAINTIFF

           v.                                          Case No. 1:21-cv-796

           STATE OF TEXAS                                                                             DEFENDANT

                                       MOTION TO INTERVENE, BY OSCAR STILLEY

           Comes now Oscar Stilley, (Stilley) as a putative intervenor, and for his motion to intervene on

           the side of the defendants in the instant action, and states:

           1.           Stilley is the plaintiff in an action entitled Oscar Stilley v. Alan Braid, MD, Bexar

           County 438th District Court 2021 CI 19940. For the convenience of the Court and parties, a link

           to Plaintiff’s complaint is included here.

           2.           Stilley’s authority to bring this suit is granted by the Texas Heartbeat Act, AKA Senate

           Bill 8 (SB8).

           3.           Stilley has thus far invested the sum of $295.29 for the filing fee and convenience fee, to

           file the aforementioned complaint.

           4.           Stilley also plans future litigation against various defendants not yet known, should all or

           part of SB8 be declared constitutional.

           5.           An adverse judgment against the Defendants in the captioned case would render Stilley’s

           monetary investment worthless, with respect to the litigation prospects of the suit. An adverse

           judgment would also likely destroy or restrict future litigation prospects.

           6.           Stilley has reviewed Docket # 28, a motion to intervene by Erick Graham, Jeff Tuley, and

           Misty Sharp.


                                                                  1
7.     Said motion, which looks remarkably similar to legal briefs Stilley has read in times gone

by, sets forth legal authorities which Stilley respectfully submits would entitle Stilley to

intervention as a matter of right, pursuant to authorities cited by the aforesaid three individuals.

Stilley sees no need to take the Court’s time by repeating such citations and arguments.

8.     Stilley wishes to intervene for the protection of his legal and property rights under SB8.

9.     If intervention is granted, Stilley plans to present only those non-frivolous arguments in

favor of SB8 that would tend to show that SB8, or part thereof, is constitutional and legally valid.

10.    Stilley has made calls to Texas Right to Life on Monday, Tuesday, and Friday morning of

this week, but has not yet received a return call.

11.    Stilley intends to inquire of Texas Right to Life, as to all non-frivolous arguments known

to that organization or its personnel, in support of SB8.

12.    Stilley from a review of the aforementioned request for intervention, by the 3 putative

plaintiffs under SB8, divines that said intervenors are focusing on trying to save only part of SB8.

13.    Stilley also divines that said 3 putative intervenors are likely associated with Texas Right

to Life, whether directly or indirectly.

14.    Stilley hopes to get a copy of SB8, with strike-outs through language that the Texas Right

to Life thinks the Court should strike, if severance of illegal provisions is deemed by the Court to

be an appropriate remedy.

15.    It also appears that said intervenors might hope that the Court will engage in a de facto

redrafting the language of SB8, in order to save something out of the law.

16.    If Stilley gets a chance to inquire, he hopes to discover from Texas Right to Life 1)

precisely the changes of language (de facto or otherwise) espoused by Texas Right to Life, and 2)


                                                     2
legal authority known to them suggesting that courts, as a general rule, have the power to redraft

a statute to save part of it.

17.     Stilley also intends to request the support of an amicus curiae attorney, to ensure that

Stilley’s arguments, together with the assistance of amicus counsel, adequately present and

vigorously argue all non-frivolous arguments in support of the validity of SB8, whether in whole

or in part.

18.     Stilley intends to present all non-frivolous arguments gained from such conversations, in

defense of his property rights in his own current and prospective litigation under SB8.

19.     In addition to service via CM/ECF, Stilley plans to fax this pleading to Texas Right to

Life, at their posted fax number, so they understand the nature of Stilley’s business, and the

urgency thereof.

20.     Stilley plans to comply with this Court’s existing scheduling order, which requires that

defense briefs be filed by 9:00 AM on September 29, 2021. Stilley does not anticipate that he

will need any deviations from any scheduling order of this court, during the proceedings.

21.     Stilley plans to rest upon the High Sabbath to Yahweh his Elohim, (Mighty Ones) known

as “Last Great Day,” which this year lasts from sundown September 28 to sundown September

29 of 2021.

22.     Stilley says this so that Texas Right to Life specifically, and all parties generally, may

understand that briefing materials should be provided to Stilley no later than 4:00 PM September

28, 2021, to ensure that Stilley can incorporate them into his brief, and submit them to the Clerk

for filing, before sundown at Cedarville, Arkansas on that day. Sundown on that day and

location will be at 7:05 PM Central Time.


                                                  3
23.     Stilley being in federal custody, on home confinement, requests that court appearances, if

necessary, by allowed via Zoom videoconferencing.

24.     Stilley is willing to content himself with being heard on written briefs, should the Court

find that such is in the interests of justice.

WHEREFORE, premises considered, Stilley respectfully requests that this Court order that Oscar

Stilley be granted intervention as a matter of right, under such terms and conditions as the Court

finds just; and for such other and further relief as may be appropriate whether or not specifically

requested.


Respectfully submitted.



By: /s/ Oscar Stilley                            September 24, 2021
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                                    CERTIFICATE OF SERVICE

Oscar Stilley by his signature above certifies that he has caused this pleading to be served on all
parties entitled to service, via CM/ECF, upon filing by the clerk. Also, a copy of this pleading is
being faxed to Texas Right to Life at their published fax number, 713-952-2041.




                                                   4
